Filed 07/23/20                                        Case 20-11858                                             Doc 35



      1    Evan Livingstone (SBN 252008)
           LAW OFFICE OF EVAN LIVINGSTONE
      2    740 4th St, Ste 215
           Santa Rosa, CA 95404
      3    Phone (707) 206-6570
           Fax (707) 676-9112
      4    Email: evanmlivingstone@gmail.com

      5    Attorney for Debtor Virginia Reyes

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      8                               UNITED STATES BANKRUPTCY COURT

      9                                EASTERN DISTRICT OF CALIFORNIA

     10    In re:                                                 Case No. 20−11858−B−7
                                                                  DCN:     EML-2
     11    VIRGINIA REYES                                         Chapter 7
                                                                  CERTIFICATE OF SERVICE OF
     12             Debtor                                        NOTICE OF HEARING ON MOTION
                                                                  TO REDEEM PERSONAL
     13                                                           PROPERTY

     14                                                           Date:      September 1, 2020
                                                                  Time:      1:30 PM
     15                                                           Judge:     Hon. René Lastretto II
                                                                  Place:     2500 Tulare St, Ctrm 13, 5th Fl.
     16    _______________________________________                           Fresno, CA 93721

     17             I, Evan Livingstone, certify that on July 23, 2020 a copy of Debtors’ Motion to Redeem

     18    Personal Property, a Notice of Hearing on Motion to Redeem Personal Property, Debtor’s

     19    Declaration in Support of Motion Redeem Personal Property, were served by first class mail to

     20    an officer of Respondent OneMain Financial Group, LLC, at the following addresses, retrieved

     21    from the most current Statement of Information filed with the California Secretary of State, to

     22    the Chapter 7 Trustee assigned to this case and to the United States Trustee.

     23             Stephen Day, CEO
                    OneMain Financial Group, LLC
     24             601 NW Second Street
                    Evansville, IN 47708
     25
                    Stephen Day, CEO
     26             OneMain Financial Group, LLC
                    100 International Dr 16th Floor
     27             Baltimore MD 21202
     28

                    Certificate of Service of Notice of Hearing on Motion to Redeem Personal Property
Filed 07/23/20                                        Case 20-11858                                            Doc 35



      1              James E. Salven
                     Chapter 7 Trustee
      2              P.O. Box 25970
                     Fresno, CA 93729 -5970
      3
                     Office of The United States Trustee
      4              2500 Tulare Street
                     Suite 1401
      5              Fresno, CA 93721
      6

      7              I declare the above facts to be true under penalty of perjury of the laws of the United
      8    States.
      9    Executed in Santa Rosa, CA on July 23, 2020                    /s/Evan Livingstone
                                                                          Evan Livingstone
     10                                                                   Attorney for Debtor

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                     Certificate of Service of Notice of Hearing on Motion to Redeem Personal Property
